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-and-

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Attorneys for the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             )   Chapter 15 Case
 In re:                                                      )
                                                             )   Case No. 10-13164 (SMB)
 FAIRFIELD SENTRY LIMITED, et al.,                           )
                                                             )   Jointly Administered
        Debtors in Foreign Proceedings.                      )
                                                             )
 FAIRFIELD SENTRY LIMITED (IN LIQUIDATION) and               )
 FAIRFIELD SIGMA LIMITED (IN LIQUIDATION),                   )
 acting by and through the Foreign Representative thereof,   )
 and KENNETH KRYS, solely in his capacity as Foreign         )
 Representative and Liquidator thereof,                      )   Adv. Pro. No. 10-03764
                                                             )   (SMB)
                                            Plaintiffs,      )
                                                             )
                            -against-                        )
                                                             )
 PICTET & CIE and BENEFICIAL OWNERS OF
                                                             )
 ACCOUNTS HELD IN THE NAME OF PICTET & CIE 1-
                                                             )
 1000, including without limitation BENEFICIAL OWNERS
                                                             )
 OF ACCOUNTS ASSOCIATED WITH REFERENCE
                                                             )
 IDENTIFIERS 635912, 994280, 33895988, NV994280, and
                                                             )
 PM0009,
                                                             )
                                            Defendants.


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                                        NOTICE OF APPEAL

Part 1: Identify the Appellant(s)

        1.      Names(s) of appellants: Fairfield Sentry Limited (In Liquidation) and Fairfield

Sigma Limited (In Liquidation),acting by and through the Foreign Representative thereof, and

Kenneth Krys, solely in his capacity as Foreign Representative and Liquidator thereof

(“Plaintiff-Appellants”).

        2.      Position of appellants in the adversary proceeding that is the subject of this

appeal: Plaintiff(s)

Part 2: Identify the subject of this appeal

        1.      Describe the judgment, order or decree appealed from: Plaintiff-Appellants,

by their attorneys, hereby appeal under 28 U.S.C. § 158(a) from:

                    a. Each and every part of that portion of the Stipulated Order Granting In

                         Part And Denying In Part Moving Defendants' Motions to Dismiss And

                         Plaintiffs' Motion For Leave To Amend, dated Wednesday, April 3, 2019

                         (ECF No. 71) (the “Order”) that constitutes a final judgment and except

                         insofar as the Order provides for further proceedings on issues listed in

                         Order Paragraph II.A in the Bankruptcy Court;

                    b. Memorandum Decision Granting in Part and Denying in Part Defendants’

                         Motions to Dismiss and Plaintiffs’ Motions for Leave to Amend, dated

                         December 6, 2018 (Fairfield Sentry Limited (in Liquidation) v. Theodoor

                         GGC Amsterdam et al., Adv. Proc. No. 10-03496 (SMB) (Bankr.

                         S.D.N.Y. Dec. 6, 2018)1, ECF. No 1743) (“December 2018 Decision”),


1
 The Court entered the decisions addressed in this Notice of Appeal only on the administratively consolidated
docket for this action and its related proceedings.


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                      solely insofar as it concerns claims dismissed under the Order and the

                      extraterritorial application of the Section 546(e) safe harbor; and

                  c. Memorandum Decision and Order Regarding the Defendants’ Motions to

                      Dismiss for Want of Jurisdiction, dated August 6, 2018 (Fairfield Sentry

                      Limited (in Liquidation) v. Theodoor GGC Amsterdam et al., Adv. Proc.

                      No. 10-03496 (SMB) (Bankr. S.D.N.Y. Aug. 6, 2018), ECF No. 1723)

                      (the “August 2018 Order”), solely insofar as it rules that Defendants’

                      consent to the Subscription Agreement does not constitute consent to

                      personal jurisdiction in the U.S. Redeemer Actions.

       2.      State the date on which the judgment, order, or decree was entered:

                  a. The Order was entered on Wednesday, April 3, 2019. A copy of the Order

                      is annexed hereto as Exhibit A.

                  b. The December 2018 Decision was entered on December 6, 2018. A copy

                      of the December 2018 Decision is annexed hereto as Exhibit B.

                  c. The August 2018 Order was entered on August 6, 2018. A copy of the

                      August 2018 Order is annexed hereto as Exhibit C.

Part 3: Identify the other parties to the appeal:

       The relevant parties to the judgment, order, or decree appealed from, and the names,

addresses, and telephone numbers of their respective attorneys are as follows:

            Plaintiff-Appellants                                Attorneys
Fairfield Sentry Limited (In Liquidation)     BROWN RUDNICK LLP
and Fairfield Sigma Limited (In               David J. Molton
Liquidation),acting by and through the        Marek P. Krzyzowski
Foreign Representative thereof, and           Seven Times Square
Kenneth Krys, solely in his capacity as       New York, New York 10036
Foreign Representative and Liquidator         Telephone: 212-209-4800
thereof



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                                           SELENDY & GAY PLLC
                                           David Elsberg
                                           Lena Konanova
                                           Ron Krock
                                           1290 Avenue of the Americas
                                           New York, NY 10104
                                           Telephone: 212-390-9000


         Defendant-Appellees                                   Attorneys
See Schedule A                             See Schedule A

Part 4: Not Applicable (No BAP in this District)

Part 5: Signature

Dated: May 2, 2019
       New York, New York
                                          Respectfully submitted,

                                          BROWN RUDNICK LLP

                                          /s/ Marek P. Krzyzowski
                                          BROWN RUDNICK LLP
                                          David J. Molton
                                          Marek P. Krzyzowski
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                                          New York, New York 10036
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                                          —and—

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                                          Counsel for the Plaintiff-Appellants


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